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                                                                                 United States District Court
                                                                                   Southern District of Texas
                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS                                ENTERED
                                MCALLEN DIVISION                                   December 26, 2018
                                                                                   David J. Bradley, Clerk

United States of America                         §
                                                 §
versus                                           §                    Case No. 7:18−mj−02629
                                                 §
Eduardo Roman−Martinez                           §

                       ORDER OF DETENTION PENDING TRIAL

        In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has
been waived. I conclude that the following facts require the detention of the defendant pending
trial in this case.

                                   Part I − Findings of Fact

     (1) There is a serious risk that Defendant will not appear.

                   Part II − Written Statement of Reasons for Detention

       I find that the credible testimony and information submitted establishes by a
preponderance of the evidence that there is no condition or combination of conditions that will
reasonably assure the appearance of Defendant at future proceedings.
     Defendant is charged with an offense in violation of Title 8 U.S.C. § 1326. Defendant is a
citizen and national of Mexico with no legal status to reside in the United States. Defendant,
assisted by counsel, waived a detention hearing and presented no further evidence.
      Should additional evidence come to light or conditions become available that would
materially affect this Court's ruling, Defendant may move to reopen the detention hearing. See
18 U.S.C. § 3142(f).

                         Part III − Directions Regarding Detention

      Defendant is committed to the custody of the Attorney General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or being held in custody pending appeal. Defendant
shall be afforded a reasonable opportunity for private consultation with defense counsel. On
order of a court of the United States, or on request of an Attorney for the Government, the
person in charge of the corrections facility shall deliver Defendant to the United States
Marshal for the purpose of an appearance in connection with a court proceeding.

Dated: December 26, 2018
